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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

JACKSON WELLS, as Personal                 Case No.: 4:21-cv-00097-BMM
Representative for the Estate of
THOMAS E. WELLS, deceased;
                                           DEFENDANT BNSF
and JUDITH HEMPHILL, as                    RAILWAY COMPANY’S
Personal Representative for the            RESPONSE IN OPPOSITION
Estate of JOYCE H. WALDER,                 TO C. BRADFORD BLACK,
                                           M.D.’S OBJECTION TO AND
deceased,                                  MOTION TO QUASH TRIAL
                                           SUBPOENA ISSUED BY
Plaintiffs,                                BNSF RAILWAY COMPANY

vs.

BNSF RAILWAY COMPANY, a
Delaware corporation; ROBINSON
INSULATION COMPANY, a
Montana Corporation for profit;
GROGAN ROBINSON LUMBER
COMPANY, a Montana
Corporation for profit; and DOES
A-Z,

Defendants.

DEFENDANT BNSF RAILWAY COMPANY’S                   KNIGHT NICASTRO MACKAY, LLC
RESPONSE IN OPPOSITION TO C. BRADFORD                        304 WEST 10TH STREET
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         COMES NOW, Defendant BNSF RAILWAY COMPANY (“BNSF”), by and

through its attorneys, Knight Nicastro MacKay, LLC, and hereby submits this

Response in Opposition to C. Bradford Black, M.D.’s Objection to and Motion to

Quash Trial Subpoena Issued by BNSF Railway Company1.

         Dr. Black’s Objection largely raises the same issues briefed by Plaintiffs in

their Objection. BNSF will not restate its response to those identical issues and

instead incorporates its Response in Doc. 244 as if fully stated here.

         Dr. Black raises two issues. First, he claims that he lacks relevant personal

knowledge as a fact witness and second, he has not been disclosed as a retained

expert by either party. Dr. Black’s identification as a “retained expert” is irrelevant

to whether he has information relevant to the claims and defenses in this lawsuit. A

treating physician who has not been designated as an expert but otherwise identified

as a witness may testify as a fact witness. Boles v. Greenwood Leflore Hosp., 2022

U.S. Dist. LEXIS 231786, 2022 WL 17961391 (N.D.Miss., Jan. 20, 2023).

Documents and statements that purport to outline an exposure history to a substance

will always have a tendency to make the existence of any fact that is of consequence




1
  Counsel for BNSF and Dr. Black held a phone conferral on February 8th to discuss as many of Dr. Black’s objections
as possible. The parties had little disagreement about Dr. Black’s testimony regarding CARD treatment records. With
respect to his testimony regarding his time as a county health officer, the parties disagreed as to whether any of that
testimony would cross the line into expert witness testimony. Dr. Black agreed to review a proposal from BNSF on
that issue. With respect to questions regarding his studies Plaintiff’s other experts relied on, the parties could not agree.
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in a lawsuit more or less probably than it would be without the evidence. See Fed.

R. Evid. 401.

         Dr. Black argues that he lacks relevant personal knowledge but then admits in

his declaration that any of his testimony regarding Mrs. Walder would be based

exclusively on her medical records. See Doc. 241 at ¶ 7. It is these records that BNSF

would ask Dr. Black about which he admits that he would have been aware of as

part of his usual custom, habit and practice. Id. at ¶ 8. This testimony is no different

than half of the depositions Dr. Black sat for which are listed on Attorney Jori

Quinlan’s Declaration. See Doc. 242-2.2 In those depositions the plaintiffs were

claiming an asbestos related disease and, similar to Ms. Walder, at some point in

time, were treated by Dr. Black. In Kampf, Daley and Watson, Dr. Black was a

witness with relevant information. Dr. Black reviewed medical records which

refreshed his memory and gave testimony in those cases even though his treatment

of those individuals happened many years prior. The relevancy of Dr. Black’s

testimony in those cases did not hinge on the plaintiffs choosing to use Dr. Black as

an unretained expert. If those plaintiffs hired new experts in an attempt to avoid

exposure admissions that were reviewed and accepted by Dr. Black, Dr. Black still



2
 The other depositions in that list are irrelevant to Dr. Black’s involvement in this case. The Asbestos Claims Court
analyzed whether a CARD diagnosis was a sufficient diagnosis which led to discovery into the CARD clinic and the
dismissal of hundreds of cases pursuant to a deferred docket process. Dr. Black’s testimony in BNSF on behalf of the
United States of America vs. CARD addressed issues unrelated to this case.

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would have been a witness with relevant information in those cases.3 BNSF has no

control over the number of personal injury lawsuits filed in Montana in which Dr.

Black is a witness.

         With respect to testimony as a county health officer, Dr. Black admits in his

Declaration that he lived in Libby during the relevant time period for Mrs. Walder’s

claim. See Doc. 241 at ¶ 13. As explained by BNSF in Doc. 244, Dr. Black’s personal

knowledge as the County Health Officer is relevant to the issue of notice advanced

by the Plaintiffs in this lawsuit. Plaintiffs through retained expert Julie Hart are

claiming that the EPA made several findings regarding W.R. Grace available to the

public. Dr. Black however, as the County Health Officer, disputes this and can testify

to his personal knowledge of what was known and not known. Counsel for Dr. Black

maintained an objection to this testimony as expert testimony; however, this

testimony has nothing to do with “expert opinions.” BNSF provided examples of

this testimony from Dr. Black in previous cases in Doc. 244-1.

         Finally, Dr. Black’s admissions that show bias in the studies that he and other

CARD associates performed is directly relevant to the Plaintiff’s experts’ use of and

reliance on those studies. This issue is explored outside of the context of being an




3
 Dr. Black argues additionally that his testimony is cumulative to the records; however, the Court has not received
any evidence in this trial so it cannot be deemed cumulative. Furthermore, Plaintiffs objected to the admission of
CARD records through their filing of a Motion in Limine.
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“expert witness.” BNSF again tendered examples of this past examination of Dr.

Black in Doc. 244.

      With respect to the issue of a trial preservation deposition and good cause, Dr.

Black cites to Ashby v. Mortimer, 337 F.R.D. 652 (D. Idaho 2020) for the position

that the rules do not permit trial preservation depositions. Plaintiffs did not cite to

this case, so BNSF will address that issue here. Ashby and the case presented by

BNSF in Doc 244, Estenfelder v. Gates Corp., 199 F.R.D. 351 (D. Colo. 2001),

reflect a dispute regarding trial preservation depositions and their position within the

Rules of Civil Procedure. However, this matter is distinguished from Ashby. Unlike

Ashby, Dr. Black can be served with a trial subpoena, but BNSF proposed the

preservation deposition for the convenience of all parties. Procedurally in this case,

Plaintiffs filed a Motion to exclude CARD evidence altogether from this case and

the Court sought more information before ruling on that motion. Evidence of Mrs.

Walder’s exposure admissions to the CARD clinic that was reviewed and approved

by Dr. Black is an issue that will come up very early on in this case. As will cross

examination of Plaintiff’s experts regarding their reliance on Dr. Black’s studies and

the notice issue regarding what was disclosed to the Libby Community, which

including BNSF as a member of that community. By doing a trial preservation

deposition, the Court will have the entire testimony of Dr. Black prior to trial so that

a ruling can be made. Otherwise, the parties would have to address the issue during
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trial, which would likely cause a greater inconvenience to Dr. Black. Additionally,

Dr. Black would be called as a defense witness, and it is unknown how long Plaintiffs

case in chief would take. These were factors not raised in the Ashby decision.

                     DOCUMENT PRODUCTION ISSUE

      With respect to document production, if Dr. Black does not have access to any

documentation at CARD, then his response to the document production request in

the subpoena is not overly burdensome. He need merely respond that he has no

records. The document request was included with the subpoena, because CARD did

not produce all documents to BNSF when BNSF requested Plaintiff Walder’s

complete medical file during discovery, as compared to the set of records produced

by Plaintiff. However, if Dr. Black’s retirement from CARD makes him unable to

address this issue, then BNSF agrees that is not an issue for Dr. Black. But that has

no impact on the subpoena for his testimony.



      Dated this 9th day of February, 2024.

                                       KNIGHT NICASTRO MACKAY, LLC

                                       By: /s/ Anthony M. Nicastro
                                         Chad M. Knight
                                         Anthony M. Nicastro
                                         W. Adam Duerk
                                         Attorneys for Defendant
                                         BNSF Railway Company

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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with L.R. 7.1(d)(2), and that the

number of words in the brief, excluding caption, certificates of compliance and

service, table of contents and authorities, and exhibit index, is less than 3,250 words.



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                                        By: /s/ Anthony M. Nicastro
                                          Anthony M. Nicastro
                                          Attorneys for Defendant
                                          BNSF Railway Company




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of February, 2024, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the following counsel of record:

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